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       Exhibit 34
to Declaration of Scarlet Kim to Plaintiffs’
     Motion to Enforce Court Order

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                                 August 2, 2021


                                 DELIVERED VIA EMAIL

                                 Liam C. Holland
                                 Trial Attorney
                                 Civil Division
                                 U.S. Department of Justice
                                 Washington, D.C. 20530

                                 Re: Samma, et al. v. United States Department ofDefense, et al., No.
                                 20-CV-1104 (D.D.C.)

                                 Dear Liam,
AMERICAN CIVIL LIBERTIES UNION
                                 Thank you for your letter dated July 28, 2021, responding to our letter of July 23,
                                 2021, describing three more instances of non-compliance with the Court's August
                                 25, 2020 Order. In your letter, you requested additional information about each
                                 class member's situation "in order to examine the issue and meaningfully
                                 respond." At this stage, we are able to provide the current unit infonnation for the




                                 -
                                 following class members raised in our July 23 and July 28, 2021 emails:

                                 1. Nikolai Povolotckii:




                                 -
                                 5. Christiana Etukudo Atat:


                                 6. Joseph Okoisu:

                                 We have also attached another scanned version of the N-426 form for Mr.
                                 Povolotckii, as requested in your July 23, 2021 letter.

                                 While we are working to gather additional infonnation regarding these instances
                                 of non-compliance to help expedite meaningful action, we expect Defendants to
                                 investigate these cases of non-compliance using the infonnation we have already
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                                 provided. In our July 23 and July 28, 2021 letters, we described, in as much detail
                                 as possible, each class member’s experience seeking N-426 certifications from
                                 their respective chains of command at multiple training bases and installations.
                                 The information we have now provided is more than sufficient for Defendants to
                                 know who and where these soldiers are, and to take the necessary corrective
                                 action. It is Defendants’ responsibility to comply with the court’s order, not to
                                 impose burdensome and unnecessary tasks on class members and class counsel.

                                 As noted in our earlier letters, an individual class member’s inability to obtain N-
                                 426 certification is often indicative of a more systemic problem at a particular
                                 military installation and nearly all of the class members listed above have
                                 encountered instances of non-compliance at installations that we already brought
                                 to Defendants’ attention in previous letters. We urge and expect Defendants to
                                 take responsibility for assuring that these class members’ N-426 certification
                                 requests are processed promptly and that military officials at these installations
AMERICAN CIVIL LIBERTIES UNION
                                 are aware of their obligations and that those under their command carry out their
                                 duties.



                                                                               Sincerely,
                                                                               Sana Mayat

                                                                               Counsel for Plaintiffs


                                 Encl.
